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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA



 UNITED STATES OF AMERICA

 v.                                            Crim. Action No. 1:21-CR-40 (TNM)

 DAVID LEE JUDD,

                        Defendant.




MR. JUDD’S MOTION TO AMEND HIS CONDITIONS OF RELEASE BASED
  ON U.S. PROBATION’S RECCOMMENDATION THAT ELECTRONIC
                  MONITORING BE REMOVED
         David Lee Judd, through counsel, respectfully moves this Court to follow the

recommendation of his United States Probation Officer and remove electronic

monitoring as a condition of his release. 1 In support of this Motion, counsel states:

      1. David Judd is before the Court pending sentencing after having entered into a

         stipulated trial agreement whereby he agreed to certain conduct, which

         occurred on January 6, 2021, at the U.S. Capitol. Sentencing is scheduled on

         February 7, 2022.

      2. Mr. Judd has been under supervision in the Eastern District of Texas since

         May 2022. Initially, he was placed on home detention. After successful

         completion of six months of home detention, this Court ordered that he be




        An email stating the Probation Officer’s recommendation is attached as Exhibit 1. The
         1

government opposes this request.
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   monitored via electronic monitoring but removed Mr. Judd from home

   detention. See Minute Entry, 10/4//2021.

3. On October 25, 2022, undersigned counsel received an email from Shalonda

   Arterburry indicating that Probation is recommending that his release

   conditions be revised and that his electronic monitor be removed.

4. Counsel has since twice reached out to the government to ascertain its position

   on this request. Counsel has not yet heard back.

5. Based on Mr. Judd’s perfect record of compliance with conditions of release and

   Probation’s recommendation, Mr. Judd moves the Court to order that

   electronic monitoring may be removed as a condition of release.

6. A proposed Order is attached for the Court’s consideration.

                                          Respectfully Submitted,

                                          A.J. KRAMER
                                          FEDERAL PUBLIC DEFENDER


                                          ______/s/____________________
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                                         _____/s/____________________
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